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National General >>
Accident & Health

PO Box 2070
Milwaukee, WI 53201-2070

Kreamer Law Group LLC
1100 E Warrenville Road
Suite 135

Naperville IL 60563

March 2, 2020

RE: Request for an External Review
ID#: 671272722

Client: Charles Till

Date of Service: March 2018 to present

Dear John C. Kreamer,

This letter serves as a follow-up to our February 20, 2020 correspondence and your request for
an external review of Mr. Till’s claims that were denied pursuant to the Pre-Existing Condition
provision under his Short Term Medical Insurance certificate. As noted, your request was
forwarded to MCMC LLC, a URAC Accredited entity, for an independent external review.

A board certified medical doctor in Internal Medicine reviewed the provisions of Mr. Till’s Short
Term Medical Insurance certificate and medical records. The results of the MCMC review are
enclosed.

The MCMC review determined that Mr. Till’s claims were processed correctly and properly
excluded pursuant to the Pre-Existing Condition Exclusion provision under his Short Term
Medical Insurance certificate.

This letter serves as the notification of findings from such review and confirmation that his right
to an External Review has been satisfied.

Therefore, the Internal Appeal Review rights and External Appeal Review rights with regard to
this matter have been exhausted.

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National General 3}
Accident & Health

PO Box 2070
Milwaukee, Wi 53201-2070

If you have additional questions regarding this matter, please contact our office at the address
noted below.

Regards,

Correspondence Team

National General Accident & Health
PO Box 2070

Milwaukee, WI 53201-2070
Facsimile: (414) 999-2049

cc: MCMC Review

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